Case 0:17-cv-60533-JEM Document 25 Entered on FLSD Docket 01/17/2018 Page 1 of 2



                        UN ITED STA TES DISTRICT COU RT FO R THE
                             SOU THERN D ISTRICT O F FLO RIDA
                               FORT LA UD ERD A LE DIV ISION

                 C ase N um ber:17-60533-C IV -M A R TIN EZ-O TA ZO -% Y ES

 RO DN EY SCOTT PA TTERSON ,

        Plaintiff,

 VS.

 AM ERICAN AIRLIN ES, INC.,             Ilelaxvare
 Corporation,

        Defendant.


                        O RD E R R EVISING SCH EDU LIN G O R D ER

        THIS CA U SE cam e before the Coul'tupon the parties'JointM otion to Extend D eadlines
  LECFNo.231.At-
               tercarefulconsideration,itishereby:
        O R DE RED A ND A DJUD G E D that:
               The parties'JointM otion to Extend Deadlines(ECF No.231isGRANTED,in
 part,as setforth herein.
               The previous calendar call and trial dates are hereby C AN C ELLED . Trial is
 rescheduled to com m ence during the tw o-w eek period beginning M ondav.Julv 9.2018.at9:30
 a.m .,w ith calendarcallcom m encing on Thursdav.Julv 5.2018.at1:30 p.m .
               The follow ing pretrialdeadlines are reset:
               3-21-2018     Parties shallexchange w ritten listscontaining the nam es and
                             addressesofallw itnesses intended to be called attrialand only
                             those w itnesses listed shallbe perm itted to testify.

               4-2-2018      Parties shallexchange rebuttalexpertw itness sum m ariesand
                             reports.

               N ote:        These provisions pertaining to expert w itnesses do not apply to
                             treating physicians,psychologists orotherhealth providers.

               4-25-2018     A 11discovery,including expertdiscovery,shallbe com pleted.

               4-30-2018     A11Daubertmotionsmustbefiled.Allsummaryjudgmentand
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                              other dispositive m otions m ustbe filed.

               N ote:         In the event that there are any unresolved discovery m otions
                              pendinj fifteen dayspriorto this date,the moving pal'ty shall
                              im m edlately advise the Court of a1l such unresolved m otions
                              togetherw ith their status.

               6-11-2018      A llpretrialm otions and m em oranda of-law ,'such as m otions in
                              lim ine,m ustbe tiled.

               6-19-2018      JointPretrialStipulation and deposition designationsm ustbe filed.
                              The deadlinesforobjectionsto deposition designations,counter-
                              designations,and rebuttaldesignations are set forth in paragraph 5
                              oftheCourt'sschedulingorder(ECFNo.191.
               7-2-2018       Proposed jointjury instructions, proposed joint verdict form,
                              and/or proposed findings of fact and conclusions of law m ust be
                              filed.

               7-5-2018       Proposed voirdire questions m ustbe filed.

               The Court's scheduling order(ECF No.l91shallotherwise remain in fullforce
 and effect.
        D ON E AN D O RD ERED in Cham bersatM iam i,Florida,this j
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                                                                  idayofJanuary,2018.
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                                                    JOSE i!jMARTINEZ
                                                    UNITPb' STATES DISTRICT JUDGE
 Copiesprovided to:
 M agistrate Judge Otazo-R eyes
 A l1CounselofRecord




   This deadline does notpertain to D aubertm otions or dispositive m otions,including sum m ary
 judgmentmotions,asaspecificdeadlinehasalreadybeen providedforthesemotions.
